Case: 15-2197
        Case 1:13-cv-13081-DJC
                Document: 7 Page:
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               United States Court of Appeals
                                For the First Circuit
                                    _____________________

No. 15-2197
                                    JAMES G. MACKENZIE

                                       Plaintiff - Appellant

                                                v.

    BART NELSON, sued in his individual capacity; TRISH GRANT, sued in her individual
                                        capacity

                                     Defendants - Appellees

    BRUCE GELB, sued in his individual capacity; LUIS SPENCER, sued in his individual
           capacity; LAWRENCE WEINER, sued in his individual capacity

                                          Defendants
                                      __________________

                                          JUDGMENT

                                    Entered: January 7, 2016
                                  Pursuant to 1st Cir. R. 27.0(d)

        By order entered December 7, 2015, appellant was directed to show cause in writing as to
why this appeal should not be dismissed for lack of jurisdiction. Appellant was warned that failure
to respond by December 21, 2015 would lead to dismissal for lack of diligent prosecution.

       Appellant having failed to file a timely response, it is hereby ordered that the above-
captioned appeal be dismissed in accordance with 1st Cir. R. 3.0(b).

                                                     By the Court:

                                                     /s/ Margaret Carter, Clerk


cc:
James G. Mackenzie
James A. Bello
Stephen G. Dietrick
Tory A. Weigand
